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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEW JERSEY


 FLOORCOVERINGS INTERNATIONAL, LTD.                   :
 5390 Triangle Parkway, Suite 125                     :
 Norcross, GA 30092                                   : Civil Action No.
                                                      :
         Plaintiff,                                   :
                                                      :
 v.                                                   :
                                                      :
 CHRISTOPHER NEEDHAM                                  :
 956 E. Lincoln Avenue                                :
 Piscataway, NJ 08854                                 :
                                                      :
         Defendant.                                   :

                                   COMPLAINT

                                     PARTIES

      1.       Floorcoverings International, Ltd. (“FCI”) is a Georgia corporation

with its principal place of business located in Gwinnett County, Georgia, located at

5390 Triangle Parkway, Suite 125, Norcross, Georgia 30092.

      2.       Christopher Needham (“Needham”) is an individual and upon

information and belief residing at 956 E. Lincoln Avenue, Piscataway, New Jersey,

08854.

      3.       At all times referred to herein, FCI has engaged in business as the

national franchisor of Floorcoverings International franchises, which offer soft and
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hard flooring products and window treatments to certain customers. As of December

31, 2021, there were 206 Floorcoverings International franchisees operating in the

United States and Canada.

                          JURISDICTION AND VENUE

      4.     This Court has jurisdiction over the parties and subject matter pursuant

to 28 U.S.C. §1332(a) in that the parties are citizens of different states and the matter

in controversy exceeds the sum of $75,000, exclusive of costs and interest.

      5.     Venue for this action is predicated upon 28 U.S.C. §1391(b) as

Needham resides and does business in this judicial district, and a substantial part of

the events or omissions giving rise to the claims occurred in this judicial district.

                                  BACKGROUND

                      The Floor Coverings International System

      6.     FCI is the international franchisor of Floor Coverings International

businesses (each, a “Franchised Business”) and has offered franchises in the mobile

retail floorcovering business since February 1998.

      7.     FCI owns the mark “Floor Coverings International,” which was

registered on June 19, 2001, on the Principal Register of the United States Patent

and Trademark Office (“USPTO”) at Registration No. 2,461,349. FCI also owns the

marks “Floor Coverings International/The Flooring Store at Your Door” and “FCI”
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which are registered on the USPTO’s Principal Register of Trademarks at Nos.

2,635,911 and 2,449,016 respectively (collectively, the “Marks”).

      8.     FCI franchisees are licensed to use the Marks to operate under FCI’s

business system pursuant to the terms and conditions of a FCI franchise agreement.

      9.     FCI franchisees are also licensed to use FCI’s proprietary business

system, policies, procedures and standards and specifications, all of which are

disclosed to FCI franchisees in confidence.

                              The Franchise Agreement

      10.    On October 20, 2016, FCI and Needham entered into a franchise

agreement (the “Franchise Agreement”) pursuant to which Needham was granted

the right and undertook the obligation to operate a “Floor Coverings International”

franchise (the “Franchised Business”) in certain zip codes in and around Somerset,

New Jersey (the “Territory”). A true and correct copy of the Franchise Agreement

is attached as Exhibit “A.”

      11.    Pursuant to Article II of the Franchise Agreement, the term of the

Franchise Agreement was ten years.

      12.    Pursuant to Article III(B)(1), Needham was required to pay a

continuing royalty fee in an amount equal to five percent of Gross Sales (as defined

in the Franchise Agreement) or a minimum of $1,250 per month in his first calendar
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year of operation, $2,083 in the second calendar year of operation, or $2,917 per

month for each month thereafter, whichever is greater (the “Continuing Royalty”).

      13.    Pursuant to Article III(C)(1), Needham was required to contribute three

percent of his gross sales to the Floorcoverings International Brand Fund (the “Brand

Fund Contributions”).

      14.    Pursuant to Article III(E) of the Franchise Agreement, Needham agreed

to pay FCI interest at the rate of 1.5 percent per month or the maximum rate allowed

by law, whichever is less, on all pay due amounts due to FCI under the Franchise

Agreement.

      15.    Pursuant to Article XI of the Franchise Agreement, Needham agreed to

indemnify and hold FCI harmless against, and to reimburse FCI for, all damages

arising from Needham’s operation of the Franchised Business.

      16.    In addition. Article XII(G) of the Franchise Agreement provides that in

the event of any judicial proceeding to enforce any term of the Franchise Agreement,

the prevailing party is entitled to recover its costs and reasonable attorneys’ fees

incurred with such proceeding.

  Needham’s Defaults Under The Franchise Agreement and Abandonment of the
                            Franchised Business

      17.    Needham ceased making the required Continuing Royalty payments

and Brand Fund Contributions to FCI.
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      18.    Needham owes FCI $13,264.54 on account of unpaid Continuing

Royalties and Brand Fund Contributions.

      19.    Rather than cure his defaults, Needham, on December 1, 2021, ceased

operating and abandoned the Franchised Business.

      20.    As a result of the abandonment of the Franchised Business, FCI

terminated the Franchise Agreement. A true and correct copy of the Notice of

Termination is attached as Exhibit “B.”

            FCI’S DAMAGES AS A RESULT OF NEEDHAM’S BREACHES

      21.    Needham owes FCI $13,264.54 in past-due Continuing Royalties and

Brand Fund Contributions.

      22.    Needham abandoned the Franchised Business on December 1, 2021.

      23.    At the time Needham abandoned the Franchised Business, the required

minimum monthly royalty payment was $2,917 per month.

      24.    As a direct and proximate result of Needham’s breach of the Franchise

Agreement, FCI has been damaged in the amount in excess of $210,000, which

represents the future minimum monthly Continuing Royalty payments due under the

Franchise Agreement from the date he abandoned the Franchised Business through

the remainder of the term of the Franchise Agreement.
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      25.    Since Needham’s abandonment of the Franchised Business, FCI has

received numerous customer complaints, and warranty claims, arising from the work

Needham performed under the Franchise Agreement.

      26.    To date, FCI has expended $9,200, and expects that such claims will

continue to accumulate.

      27.    As a direct and proximate result of Needham’s breach of the Franchise

Agreement, FCI has been damaged in excess of $219,200.

                                     COUNT I

                           BREACH OF CONTRACT

      28.    FCI incorporates by reference the averments set forth above as though

the same were set forth at length herein.

      29.    FCI has performed all of its obligations under the Franchise Agreement.

      30.    Needham has breached the Franchise Agreement by failing to pay FCI

the monthly Continuing Royalties and Brand Fund Contributions.

      31.    Needham has breached the Franchise Agreement by failing to operate

the Franchised Business for the full term of the agreement, and by failing to pay the

required minimum monthly Continuing Royalty payments to FCI for the balance of

the term.
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      32.    Needham has breached the Franchise Agreement by failing to

indemnify FCI for customer issues and warranty claims resulting from work

performed by Needham.

      33.    As a direct and proximate result of Needham’s breach, FCI has been

damaged in the amount in excess of $219,200.

                             PRAYER FOR RELIEF

      WHEREFORE, Floorcoverings International, Ltd. demands:

      (a)    Judgment against the Defendant in the amount of to be determined at

trial but which exceeds $219,200, plus interest, costs, and attorneys’ fees;

      (b)    Attorneys’ fees and costs; and

      (c)    Such other relief as this Court deems just.


                                       Respectfully submitted,

                                       DUNN & ALLSMAN, LLC

                                 By:   /s/ Francis Joseph Dunn______
                                       Francis J. Dunn
                                       18 Campus Blvd., Suite 100
                                       Newtown Square, PA 19073
                                       jdunn@dunnallsman.com
                                       610-755-8883
                                       Attorneys for Floorcoverings International,
                                       LTD.
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                                EXHIBIT “B”
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                                    February 14, 2022


 Via FedEx and Email to cneedham@gmail.com
 Christopher Needham
 956 E. Lincoln Avenue
 Piscataway, NJ 08854

       Re: Notice of Termination

 Dear Mr. Needham:

        This office represents Floorcoverings International, Ltd. (“FCI”), and I write
 regarding the: (i) franchise agreement that you (“you”) entered into with Franchisor on or
 around October 20, 2016 (“Franchise Agreement”) pursuant to which you obtained the
 right and undertook the obligation to own and operate a franchised business (the
 “Franchised Business”) in or around Somerset, NJ.

      Any capitalized term that is not specifically defined herein shall be afforded the
 same meaning such term is afforded in the Franchise Agreement.

 Obligations under the Franchise Agreement

         Pursuant to Article II of the Franchise Agreement, you undertook the obligation to
 operate the Franchised Business for a term of ten years. Pursuant to Article III(B)(1), you
 were required to pay a continuing royalty fee in an amount equal to five percent of Gross
 Sales (as defined in the Franchise Agreement) or a minimum of $1,250 per month in his
 first calendar year of operation, $2,083 in the second calendar year of operation, or
 $2,917 per month for each month thereafter, whichever is greater (the “Continuing
 Royalty”).

 Your Breaches of the Franchise Agreement and Abandonment of the Franchised
 Business

         You breached your obligations under the Franchise Agreement as a result of your
 failure to make the required Continuing Royalty payments due FCI. Thereafter, you
 ceased operating and abandoned your Franchised Business on December 1, 2021.
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 Termination of the Franchise Agreement

         As a result of your abandonment of the Franchised Business your Franchise
 Agreement is hereby terminated pursuant to Article IX(B)(1) of the Franchise Agreement
 effective 15-days from the date of this letter.

        Under Article X(A)(3) of the Franchise Agreement, you must pay FCI all monies
 due it within 15-days of the date of your termination. To date, you owe FCI $13,264.54
 in past-due Continuing Royalty fees and advertising contributions, lost future Continuing
 Royalty fees for the balance of the Franchise Agreement’s term in excess of $210,000.

         FCI expects your strict compliance with all of the post-termination obligations set
 forth in the Agreement including but not limited to: (i) the full de-identification of your
 Franchised Business (which shall include, without limitation, removing all signage and
 other items containing the FCI marks, making the changes to vehicles, buildings, and
 structures necessary to distinguish them in appearance from those used in connection
 with a franchised business, and disconnecting the phone number associated with the
 Franchised Business); (ii) the return of FCI’s manuals, customer lists, contracts and other
 customer information; (iii) payment of all amounts due to FCI; and (iv) your compliance
 with the non-competition, non-solicitation, and confidentiality covenants set forth therein.
       If you fail to pay FCI the amounts owed within 15-days or otherwise refuse to
 comply with your post-termination obligations, I will advise my client to file an action
 against you to enforce its rights under the Franchise Agreement and applicable law.
         The defaults set forth in this Notice are not intended to be an exhaustive list of all
 defaults or of the grounds upon which FCI terminated the Franchise Agreement. Nothing
 in this Notice may be construed to constitute a waiver of any rights or remedies that
 Franchisor has, had or may have under the Franchise Agreement or applicable law, and
 all such rights are hereby expressly reserved.

        If you have any questions regarding the subject matter of this Notice do not hesitate
 to contact me. My email address is jdunn@fjdunnlaw.com and my phone number is (610)
 755-8883. Due to the serious nature of this matter, I suggest that you give it your
 immediate attention.
